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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                          CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     __________________________________/


                                           ORDER

           A February 18, 2022 order (Doc. 110) grants the plaintiffs’ motion to proceed

     pseudonymously. Violative of the February 18, 2022 order, the defendants submit

     an attachment (Doc. 169-2 at 1) that includes the plaintiff Cadet’ last name. The

     attachment (Doc. 169-2) is STRICKEN WITHOUT PREJUDICE. The clerk must

     delete the image of the attachment (Doc. 169-2).

           ORDERED in Tampa, Florida, on April 18, 2022.
